                                                       Case 2:19-cv-08109-SVW-MAA Document 48 Filed 11/12/20 Page 1 of 2 Page ID #:540




                                                                         1   COLLINSON, DAEHNKE, INLOW & GRECO
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                                                                                                  UNITED STATES DISTRICT COURT
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                                                                                    CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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                                                                             DANIEL NERSOYAN,                           CASE NO. CV19-08109 SVW (MAAx)
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                                Plaintiff,              DEFENDANT COUNTY OF LOS
                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757




                                                                                                                        ANGELES’ REPLY AND NOTICE
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13                v.                            OF NO OPPOSITION TO MOTION
                                                                        14                                              FOR SUMMARY JUDGMENT OR,
                                                                             COUNTY OF LOS ANGELES, a                   IN THE ALTERNATIVE, MOTION
                                                                        15   county corporation; COUNTY OF LOS
                                                                             ANGELES SHERIFF’S                          FOR PARTIAL SUMMARY
                                                                        16   DEPARTMENT, a public entity;               JUDGMENT
                                                                             SHERIFF JAMES MCDONNELL, in
                                                                        17   his official capacity and as an
                                                                             individual; DEPUTY KENNETH                 Date: November 30, 2020
                                                                        18   COLLINS, individually and in his           Time: 1:30 p.m.
                                                                             official capacity as a Deputy, and         Dept.: 10A
                                                                        19
                                                                             DOES 1 through 10, inclusive

                                                                        20                      Defendants.             Action Filed: September 18, 2019
                                                                                                                        Trial Date: January 12, 2021
                                                                        21

                                                                        22   TO THE HONORABLE COURT, PLAINTIFF AND HIS ATTORNEY OF
                                                                        23   RECORD:
                                                                        24         PLEASE TAKE NOTICE that as of this date, defendant has received no
                                                                        25   opposition by plaintiff to the motion for summary judgment or, in the alternative,
                                                                        26   motion for partial summary judgment. Given the hearing date of November 30,
                                                                        27
                                                                             2020 and L. R. 7-9, plaintiff’s opposition was due on November 9, 2020.
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                                                                             ______________________________________________________________________________
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                                                                                 DEFENDANT’S REPLY AND NOTICE OF NO OPPOSITION TO MOTION FOR SUMMARY
                                                                                JUDGMENT OR, IN THE ALTERNATIVE, MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                       Case 2:19-cv-08109-SVW-MAA Document 48 Filed 11/12/20 Page 2 of 2 Page ID #:541




                                                                         1   Moreover, pursuant to L.R. 56-2, any opposition must include a separate document
                                                                         2   with a concise statement of genuine disputes as to the facts. As plaintiff has failed
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                                                                             to file any opposition or a separate statement of genuine disputes regarding the
                                                                         4
                                                                             facts, and for the reasons asserted in the motion, defendant’s motion should be
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                                                                         6
                                                                             granted in its entirety.

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                                                                         8   DATED: November 12, 2020          COLLINSON, DAEHNKE, INLOW & GRECO
                                                                         9                                      By:
                                                                        10                                            /s/ Laura E. Inlow
                                                                                                                      Laura E. Inlow, Esq.
                                                                        11                                            Attorneys for Defendant
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12                                            COUNTY OF LOS ANGELES
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                                                                                  DEFENDANT’S REPLY AND NOTICE OF NO OPPOSITION TO MOTION FOR SUMMARY
                                                                                 JUDGMENT OR, IN THE ALTERNATIVE, MOTION FOR PARTIAL SUMMARY JUDGMENT
